Fill in this information to identify your case:

   

 

 

 

Debtor MICHAEL BROWN

Firat Nanse Middle Name Last Name
Debtor 2
{Spouse ff filing) Fie Nama Middle Mama LastName

United States Bankruptcy Courl for the: Western District of Texas

Case number

(lf keown} CI Check if this is an
amended fifing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/415

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for. supplying correct
information. If more space is needad, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
id No. Check this box and file this form with the court with your other schedules, You have nothing else te report on this form.
Ql Yes, Fil in ail of the information below even if the contracts or leases are listed on Schedule A/B- Property (Official Form 4064/8),

2. List separately each person or company with whom you have the contract or iease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone}, See the Instructions for this farm in the instruction booklet for more examples of executory contracts and
unexpired leases,

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City

2.2

State ZIP Code

 

Name

 

Number Street

 

city

_ Stale ZIP Code
23

 

Name

 

Number Street

 

eee ee State ZIPCode
2.4

 

Name

 

Number Street

 

ee ik ue nn som a, State ZIP Code
25

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of
Debtor 1

MICHAEL

First Name

Addie Name

BROWN

Last Mama

Case number warcwny

|| Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

22

What the contract or lease is for

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

2.

State

2/P Code

 

Name

 

Number

Street

 

City

State

2iP Code

 

 

Street

 

State

ZiP Code

 

 

Street

 

State

ZIP Cade

 

 

Sraet

 

State

218 Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

SHY

Official Form i06G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

page
Ree tere ley ets identify your case:

Debtor 1 MICHAEL BROWN

Frsi Nome cole Neme Last Name

Debtor 2
(Spouse, if filing) Fivst Narn Middle Hame

 

Lasi Nama
United States Bankruptcy Court for the: Western District of Oklahoma

Case number
{It known)

 

 

C) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 4245

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill It out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known}. Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list ellher spouse as a codebtor.}

1 No
OD ves

2. Within the last 8 years, have you lived in a community property state or territory? (Communily property statos and torritories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
A No. Go to line 3.
CQ} Yas. Did your spause, former spouse, or legal equivalent live wilh you at the lime?

OC) Ne

O) Yes. tn which community stale or territory did you live? . Fillin the name and current address of that person.

 

Name of your spouse, former spouse, or logal aquivatent

 

Numbar Streat

 

Ciiy State ZIP Code

3. In Column 4, list all of your codebtors. Do not inciude your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a cadebtor only if that person is a quaranter or cosigner, Make sure you have listed the crediter on
Schedule D (Official Form 1060}, Schedule E/F (Official Form 10GEIF}, or Schedule G (Official Form 106G}. Use Seheduie D,
Schedute E/F, or Schedule G to fili out Column 2,

Column 4: Your codebtor Column 2: The crediter to whom you owe the debt

Check all schedules that apply:

2

 

Scheduie D, line

 

 

 

 

 

 

 

 

Name

QO Schedule E/F, line
Number Streak Q Schedule G, fine
City Slate dP Code

PY Schedule D, line
Name .

C) Schedule E/F, line
Number Street QC) Schedule 6, fine
City State ZIP Code

( Schedule D, tine
Name ’

QO Schedule E/F, tine
Number Street O Schedule G. line
City State 21 Code

Official Form 106H Schedule H: Your Codebtors page 1 of
. Debtor 1

MICHAEL

First Name

BROWN

Middia Name Lastame

i Additional Page to List More Godebtors

Column ¢: Your codebtor

Caso number wincani

 

Column 2; The creditor to wham you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
(2 Schedule E/F, line
Number Street QO) Schedute 6, line
City State ZIP Coda
Name O Schedule D, line
CL} Schedule EF. fine
Numbar Street QO Schedule G, line
City State ZIP Cosa
|
Name (1 Schedule D, iine
Q) Schedule E/F, line
Nomber Sieat {J} Schedule G, line
City Sate ZIP Code
b O Schedule D, line
Name _
Q) Schedule G/F, line
Nambar Siveat Ct Schedute G, line
Clly Stata ZIP Cade
EI LI Schedule D, line
Name =—_—-
Q Schedule EF, line
Number Stract C] Schecule G, line —_
City Slate ZiP Code
P| QC) Schedule B, line
Name
Cl Schedute E/F, tine
Number Sireal QO) Schedule G, line
City State ZIP Coda
P| OQ) Schedule D, line
Nama
O) Schedule E/F, line
Number Street Cl Schedule G, line
Cy State ZIP Code
QO] Schedule D, line
Name
CI Schedule Ef, line
Number Stroel Q) Schedule G, fine
Cay State ZIP Code

QC) Schedule D, line

 

Official Form 106H

Schedule H: Your Codebtors

sade of
aE ee Cll eater at your case:

Debtor 4 MICHAEL BROWN

Fitst Nama Middie Name Last Nama

Debtor 2
(Spouse. if filing) Fest Name Midole Name

 

United States Bankruptey Court far the: Western District of Texas

Case number Check if this is:
tif known)
ry An amended filing

Cl A supplement showing post-petition
chapter 13 income as of the following date:

 

 

 

Official Form B 6| uM/DD Ty
Schedule I: Your Income 412/13

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse Is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse, If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Ea Describe Employment

1. Fill in your employment

 

information. Debtor + Debtor 2 or non-filing spouse
if you have more than one job,

infonnation about eeonal Employment status CI Employed EJ Empleyed

employers. Not employed Fr] Not employed

Include part-time, seasonal, or

self-employed work, an RETIRED

 

Occupation may Include student
or hamemaker, if it applies.

Employer's name

 

Employer's address

 

Number Street Number = Street

 

 

 

City State ZIP Coda City State ZIP Code

How fong employed there?

EEE sve Details About Monthly incame

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write 30 in the space. include your non-filing
Spouse unless you are separated,

If you or your nan-filing spause have more than one employer, combine the information for all employers for that person on the lines
below. if you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before ail payrail

 

deductions). If not paid monthly, calculate what the manthly wage would be. 2. 5 0.00 §
3. Estimate and list monthly overtime pay. 3. +3 0.00 +
4, Calculate gross income. Add line 2 + line 3, 4.]/ 8 0.00 $

 

 

 

 

 

Official Form B 61 Schedule 1: Your Income page 7
Debtor 1 MICHAEL BROWN

Furst Name Middle Nowe Last Stang

Copy line 4 here. cccccsusccese.

5. List all payroll deductions:

Sa. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
Sc. Voluntary contributions for retirement plans
Sd. Required repayments of retirement fund jeans
Se. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify:

 

6, Add the payroll deductions. Add lines 5a + §b + 5c + 5d + 5e +5i + 5g +5h.

7. Calculate total monthly take-home pay, Subtract line 6 fram line 4.

4. List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
teceipts, ordinary and necessary business expenses, and the total
monthly net income,

8b. Interest and dividends

&¢. Family support payments that you, a nen-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unempioyment compensation
8e, Social Security

8f, Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

 

8g. Pension or retirement income

8h. Other monthiy income. Specify. HANDYMAN WAGES

 

9. Add ail other Income. Add lines 8a + 8b + 8c + 8d + Se + Bf +8g + Bh.

10. Calculate monthly income. Add line 7 + ine 9,
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11, State all other regular contributions to the expenses that you list in Schedule J.

Case number id snonn)

For Debtor 1

 

For Debtor 2 or
non-filing spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4a 8 0.00 $
5a, $ 0.00 $
Sb.  § G.00 3
So, 0.00 $
5d. S 0.00 §
Se. $ 0.00 g
5h § 0.00 $
5h. +5 0.00 +¢§
7 86§ 0.00 5
ga 8 G.00 3
8b.  § 0.00 $
0.00

ac. $
8d. 0.00 $
Be. § 0.00 3
3 0.00 $

St.
ag. gs 1.015.00 S
gh. +s 1,000.00 +5
9. s 2.01 5.00 3

40.4 § 2,015.00 [4] 5 is 2,015.00

 

 

Include contributions from an unmarried pariner, members of your household, your dependents, your reommates, and

other friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly incame.

Write that arnount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, il it applies 12.

13.00 you expect an increase or decrease within the year after you filo this form?

i i 0.00

; 2,015.00

Combined
monthly income

 

No.

[7] Yes. Explain: | POSSIBLE INCREASE IN INCOME WITH HANDYMAN WAGES.

 

 

Official Form 6 6| Schedute I: Your Income

page 2

 

 

 
Fill In this infarmation to Identify your case:

MICHAEL
Fitsl Name

Bebtor 4 BROWN

Middle Name Last Mame

Debtor 2

Check if this is:
Pan amended filing

 

(Spousg, if fling} Fictt Noma Middle Name Lost Name

United States Bankruptcy Court for the: Western District of Texas

Case number
(if krown)

 

 

EF] A supplement showing post-petition chapter 13
expenses as of the following date:

MM? DD? YYYY
FT A separate filing for Debtor 2 because Debtor 2

 

Official Form B 6J
Schedule J: Your Expenses

Be as complete and accurate as possible. If two married people are filin
information. If more space is needed, attach another sheet to this form.

(if known). Answer every question.

Pata: | Describe Your Household

i. Is this a joint case?

No. Go to line 2.

["] Yes. Does Debtor 2 live in a separate household?

Eno

[Tyes. Debtor 2 must file a separate Schedute J.

mn

2. Do you have dependents?

Do not list Debtor 1 and

Bebior 2. each dependent...

Do not state the dependents’
names.

3. Do your expenses Include
expenses of people other than
_ yourself and your dependents?

No
ry Yes

GEE Estimate Your Ongoing Monthly Expenses

maintains a separate household

12/43

g together, both are equally responsible for supplying correct
On the top of any additional pages, write your namo and case number

Dependent’s relationship to Dependent’s Does depandent live

 

Yes. Fill out this information for

 

 

 

Debtor 1 or Debtor 2 age with you?
STEPSON 12 Na
Yes
GRAND CHILD 5 F]No
Yes
GRAND CHILD 6 FJ no
Yes
GRAND CHILD 1 PJ No

 

Yes
| No
Yes

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Sehedufe J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know the value

of such assistance and have included it on Schedule i: Your income (Official Form B 61.)

4. The rental or home ownership expenses for your residence, Include first mortgage payments and

any rent for the ground or lot.

If not inctuded in line 4:

4a, Real estate taxes

4b, Property, homeowner's, or renter’s insurance

4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner's association or condominium dues

Official Form B 6J

Schedule J: Your Expenses

Your expenses

 

$ 1,848.34

 

fa, § 0.00
4o. 0.00
4c. § 0.00
4d, § 0.00
page 1
 

 

 

 

 

 

 

Case number (uf koown)

Debtor 1 MICHAEL BROWN
First Name Mudie Name Ladi Name
5. Additional mortgage payments for your residence, such as home equity loans
6, Utilities:
6a. Electricity, heat, natural gas
Sb. Water, sewer, garbage collection
6c. Telephone, cell phone, internet, satellite, and cable services
6d. Other. Specify:
7. Food and housekeeping supplies
8, Childcare and children’s education costs
$. Clothing, laundry, and dry cleaning
10. Personal care products and services
131, Medical and dentai expenses
12. Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and retigious donations
15. insurance.
Do not include insurance deducted from your pay or included In Jines 4 or 20,
iSa. Life insurance
18b. Health insurance
15¢,- Vehicle insurance
15d. Other insurance. Specify:
16. Taxes, Do not include taxes deducted from your pay or inciuded in lines 4 or 20.
Specify:
17. Installment or iease payments:
17a. Car payments for Vehicle 1
+7b. Car payments for Vehicle 2
17s. Other. Specify:
17d, Other. Specify:
1a. Your payments of alimony, maintenance, and support that you did not repert as deducted
from your pay on line 5, Schedule I, Your Income (Official Form B 61),
19. Other payments you make fo support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

Official Form B 6J

20a. Mortgages on other property
20b, Real eslate taxes

20c. Property, homeowner's, or renter's insurance
20d. Maintenance, repair, and upkeep expenses

200. Homeowner's association or candominium dues

Schedule J: Your Expenses

 

6a,
6b.
€e.
6d,

15b.
16e.

15d.

16.

17a.
17b.
tc.

ifd.

18.

20a.
20b.
20c.
200,

20e.

Your expenses

epee is

3 0.00

 

S000
S$ tto.on
S00
5 300.00

So
Spon
so
so

$ 4150.00
3 0,00

$ 0.00

 

4 0.00
3 0.00
3

$. 0.90

 

3 0.00

$____ 335.00
$0.00
$ 0.00
$ 0.00

 

$ 0.00

$ 0.00

 

3 0.00
3 0.00
$ 0.00
% 0.00
5. 0.00

page 2
MICHAEL Fe
Debtor : BROWN Case number ig snown)

 

 

 

 

First Name Medle Nane Last Name
21. Other. Specify: 24. +3 0.00
aa
22. Your monthly expenses. Add lines 4 through 21, 5 ? 608.31
The resuitis your monthly expenses. 22,
23, Calculate your monthly net income,
. . $ 2,015.00
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a,
23b. Copy your monthly expenses fram line 22 above. 238, _g 2,608.31
me
23¢. Subtract your monthly expenses from your monthly income. 593.34
The resuit is your monthly net income. 23c. % -

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

No.

Fves. explain here:

Official Form B 6J Schedule J: Your Expanses page 3
  

aU eC rar ett ae) identify your case:

  
 

 

Debtor 4 MICHAEL BROWN

First Nama Mxidie Name LastName

     

Debtor 2
(Spouse, filing) FestName Midiie Name Last Names

 

 

 

Uniled States Bankruptcy Court for the: Western District of Texas

 
 

C] Check if this is an
amended filing

Case number
{tf known)

 

 

 

 

 

Official Form 108 19-31968

Statement of Intention for Individuals Filing Under Chapter Ts aas

 

if you are an individual filing under chapter 7, you must fill out this form if:

# creditors have claims secured by your property, or

@ you have leased personal property and the jease has not expired.

You must file this form with the caurt within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever Is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lfessors you list on the farm.
If two married peopte are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedula D: Creditors Wha Have Claims Secured by Property (Official Form 106D), fill in the
information below,

Identify the creditor and the property that fs collateraf What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor’s
same: NATIONSTAR MORTGAGE LLC OI Surrender the propery. No
C1 Retain the property and redeem it CD) yas
ciescription 4337 JOHN B OBLINGER DRIVE Ci Retain the property and enter into a
propery EL PASO, TX 79934 Reaffirmation Agreement,

securing debt:
1 Retain the property and [explain]:
CONTINUE MAKING PAYMENT

 

Creditor’s O} Surrender the property. ad No

name: CREDIT ACCEPTANCE CORP
- la] Retain the property and redeem it, QO ves
Description of 9013 DODGE AVENGER () Retain the property and enter into a

property

securing debt: Reaffirmation Agreement.

d Retain the property and fexplain}:

 

 

CONTINUE MAKING PAYMENTS
Creditor's C) Surrender the property. QINo
name:
LJ Retain the praperty and redeem it, OC ves

Description of
property
securing debt:

CJ Retain the property and énter into a
Reatfirmation Agreement,

QO Retain the property and [explain]:

 

Creditor's CI] Surrender the property. LC No
name:

C] Retain the property and redeem it, QD Yes
Desoription of QO] Retain the property and enter into a
property

securing debt: Reaffirmation Agreement.

C} Retain the property and explain};

 

Official Forra 108 Statement of Intention for Individuats Filing Under Chapter 7 paqe 1
Debtor 4 MICHAEL

BROWN

Fiat Name Moddis Name Last Name

Gees vu: Your Unexpired Personai Property Leases

Case number (if known}

 

For any unexpired personal Property lease that you lis

fill in the information below. Do not [ist reat estate leases. Unexpired leases are leases that are Still in eff
ease if the trustee does not assume it. 14 U.S.C. § 365(p}(2).

ended, You may assume an unexpired personal property |

Describe your unexplred personal property leases

ted in Schedule G: Executory Contracts and Unexp

ired Leasas (Official Form 106G),

ect; the lease period has not yet

Will the lease be assumed?

 

 

 

 

 

 

 

 

Lessor's name: QO Ne

Description of leased C1 Yes

properly:

Lessor’s name: CI No

Description of leased Cl yes

property:

Lessor’s name: CI No

Description of leased Oyes

property:

Lessor’s name: O Ne
QO ves

Description of jeased

property:

Lessor's name: OC No
C) ves

Description of leased

property:

Lessor's name: CI no
O} ves

Description of leased

property:

Lessor's name: Ono

0) ves

Description of leased
property: °

 

Official Form 108

 

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any

personal property that is subject to an unexpired Jease,

 

X AY fb jpn x

Signature of Debtor 1 Signature of Debtor 2

bate 11/25/2019 Dio
WaT DD TAR tk? DDT WWW

 

Statement of Intention for Individuals Filing Under Ghapter 7

page 2
    

  

Check one box only as directed in this farm and in
el Pees ta ell slop

Fill in this information to OL L gtr (oy ot

   

 

  
  

     

Debtor? = MICHAEL BROWN

First Nemes Micgie Name Last Name

 
  

         
 

¥ 1. There is no presumption of abuse.

 
  

Debtor 2
(Spouse, if Hing} frst Name

   
 

   

 

 

Middia Name LastName

 

] 2, The calculation to determine if @ presumption of
abuse applies will ba made under Chapter 7
Means Test Calcutation (Official Form 122A—2),

   

United States Bankruptcy Court for ihe: Western District of Texas

 
   
 

CO) 3. The Means Test does not apply now because of
qualified military service but it could apply later.

Case number
(li known)

 

  

 

 

 

 

 

QI) Cheek if this is an amended filing

Official Form 122A—1

 

Chapter 7 Statement of Your Current Monthly Income 12H5

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate, If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known), If you belleve that you are exempted from a presumption of abuse because you
de not have primarily consumer debts or because of quaiifying mifitary service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b}{2) (Official Form 1224-1Supp) with this form.

a Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only,
: ©] Not married, Fill out Coiumn A, lines 2-11,
C) Married and your spouse is filing with you. Fill aut bath Columns A and B, lines 2-11.

CI Married and your spouse is NOT filing with you, You and your spouse are:
(2 Living in the same household and are not legally separated, Fill out both Columns A and B, lines 2-11.

CQ Living separately or are legally separated. Fill out Column A, lines 2-1 1; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements, 14 U.S.C, § 707(b}(7}(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A), For exampls, if you are filing on September 15, the 6-month period would be March 1 through
August 31. IF ihe amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For exampie, if bath spouses awn the same rental property, put the
income from that property in ane column only. If you have nothing to report for any line, write $0 in the space.

Cojumn A Columa B
Debtor 4 Debtor 2 or
non-fillng spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions

(before all payroll deductions), $e 3

3. Alimony and maintenance payments. Do not include payments fram a spouse if

 

 

 

| Column Bis filled in. $ §
4. All amounts from any source which are regularly paid for household axpenses
‘ of you or your dependents, including child support. lnclude regular contributions

from an Unmarried partner, members of your household, your dependents, parents.
: and roommates. Include regular contributions irom a spouse only if Column B is not § §
i filled in. Bo not include payments you listed on line 3.
i
5. Net income from operating a business, profession, Debtor 4 Debtor 2
i or farm
| Grass receipts {before all deductions) $  §
Ordinary and necessary operating expenses -$ - §$
Net monthly income from a business, profession, or farm $ $ rope, $ 5
: 6, Net income from rental and other real property Debtor 17 Debtor 2

Gross receipts (before all deductions) ss is

Ordinary and necessary operating expenses -3 ~§

' Go
Net monthly income [rom rentat or other real property $ $ ver> $ $
7, Interest, dividends, and royalties se 3

 

Official Form 1224-1 Chapter 7 Statement of Your Current Monthly Income page 7
Debtor 1 MICHAEL BROWN Case number ¢ known}

Firs Narn Middle Name Last Name

Column A Columa 8
Bebtor 1 Debtor-2 or
non-filing spouse

8. Unemployment compensation $ $

10,

11,

 

Do not enter the amount if you contend that the amount tecelved was a benefit
under the Social Security Act. instead, list it here: seceneueeacesssntssuaseeteeres

  

 

 

For you wa $
For your spouse............ sesieemin
Pension or retirement income. De not include any amount received that was 2
benefit under the Social Security Act. $_ 1,015.00 $

 

Incorne from all other sources not listed above. Specify the source and amount,

Do nat includs any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources ona separate page and put the total below,

 

 

 

 

MONTHLY HANDMAN WAGES $__ 1,000.00
$
Total amounts from separate pages, if any. +S +§
in

 

 

i
t

Caiculate your total current monthly income. Add lines 2 through 70 for each i | ;
| s 2,018.00/* | s

column. Then add the total for Column A to the total far Column 8.

 

3 2,015.00

Totaf current
monthly Income

 

 

 

Ee Determine Whether the Means Test Applies to You

 

| 12. Calculate your current monthly income for the year. Follow these steps: _ spreaeroeeeeoneog
42a. Capy your total current monthly income from lin@ 44.....-cscsssssessssecsssesesesayeresersesasepnniecseesess Copyline there | $ 2,015.00
Multiply by 12 (the number of months in a year), xX 12
12b, The result is your annual income for this part of the form. ta.) $24,480.00 |
13.

I
i
i
i
I
|
i
i
i

14.

Calculate the median family income that applies to you. Follow these steps:

 

Fill in the state in which yau live. OKLAHOMA
rt
Fill in the number of people in your househeld, 4 i
Fill in the median family income for your state and size of household. ccccccsssceconees 43, § 72,969.00

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

How do the lines compare?

14a. HE Line 12 is less than or equal to fine 13. On the top of page 1, check box 1, There is no presumption of abuse.
Ga to Part 3.

tap. CF Line 12b fs more than line 13. On ihe top of page 7, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 1224-2.

EE Sign Below

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly income

 

By signing here, | declare under penalty of perjury that the information on this slatement and in any attachments is (rue and correct.

x Mlicaf fhe —— x

 

 

Signature of Debtor 1 Signatura of Dabtor 2
Date 11/25/2019 Date
MM/ DD /YYYY MM/ DO fYYYY

If you checked line 14a, do NOT fill out of file Form 1224-2.
If you checked line 146, fill aut Form 122A-2 and file st with ths form.

 
Fitlin this Information to identify your case:

MICHAEL BROWN

First Narne Middia Name Last Hame

Debtor 1

Debtor 2
(Spouse, if filing) Fist Name

 

Middle Name
Unitad States Bankrupicy Court for the: Western District of Texas

Case number
(E Anown)

 

C) Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04119

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a Separate sheet to this form, On the top of any additional pages, write your name and case
number {if known). Answer every question.

Ea Give Details About Your Marital Status and Where You Lived Before

1, What is your current marital status?

Cl] Married
Ei Not married

2. During the fast 3 years, have you lived anywhere other than where you live now?
wy No

EJ ves. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

Official Form 107

 

 

 

 

 

 

Debtor 1: Dates Debtor1 Oebtor 2: Dates Debtor 2
lived there lived there
[7 same as Dabtor 4 a Same as Debtor t
Fram From
Number Street Number Sireet
To To
City State ZIP Cade City State ZIP Code
CQ] Same as Debtor 1 Q Same as Debtor 1
From From
Number Straet Number Street
To To
Gily Stale ZIP Code City State = ZIP Code

3. Within the [ast 9 years, did you ever live with a spouse or jegal equivalent in a community property state or territory? (Community property
stales and territories include Arizona, California, idaho, Louisiana, Nevaga, New Mexica, Puerto Rico, Texas, Washingten, and Wisconsin.}

O Ne

& Yes. Make sure you fil out Schedule H: Your Codebtors {Officiel Form 106H).

Ey Explain the Sources of Your Income

Statement of Financial Aftairs for Individuals Filing for Bankruptey page 7
Debtor 4 MICHAEL BROWN

FirstName Middle Namo Last Name Casa number i¢ tron)

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill In the total amount of income you received fram all jobs and all businesses, including part-time activities,
If you are filing a joint case and you have income that you receive fogelher, list it only once under Debtor 4.
O No
J Yes. Fill in the detaits.

 

Sources of income Gross income Sources of income Gross Income
Check all that apply. (before deductions and = Check all that apply. (before deductions and
exclusions) exclusions}

From January f of current year until 4 pases, pommissions, $ 11,165.00 O w ae8, Commissions. $
the date you filed for bankruptcy: Maes. NP OnNses NPS

 

Operating a business C1 Operating a business
For last calendar year: CG Wagas, commissions, Q Wages, commissions,
bonuses, lips $ bonuses, tips $
(January 7 to December 31, w— QO Operating a business Q Operating a business
For the calendar year before that: CT wages, commissions, U Wages, commissions,
bonuses, tips $ bonuses, tips
(January 1 to December 31, } 0 Operaling a business 9 []} Operating a business TTT
TY

5. Did you receive any other Income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child suppert; Social Security,
unemployment, and other public benefit payments: pensions: rental income; interast; dividends: money collected from fawsuits; royaities; and
gambling and lottery winnings. If you are fiting a joint case and you have income that you received together, list it only once under Debtor 7.

List each source and the grass income from each source separately, Do not include income that you Usted in line 4.

CV no
iad’ Yes. Fill in the details.

  

 

4
».Debtor:4 af
tate Hat as a ta et eal
Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. @ach source
(before deductions and (before deductions and
exclusions) exclusions)

 

From January 1 of current year until HANDYMAN ___ s__11,000.00_

the date you filed for bankruptey: g

 

 

————_____—. $ _—_—

For jast calendar year:
(January 1 to December 31, }
YrrY

 

<r}

 

o>

HT Tl

 

For the calendar year before that: $

(January 1 to December 31, }
YYYY

 

Official Farm 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2
Debtor t

MICHAEL

FirstName

Middle Name insi Name

BROWN

ES Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

CJ No. Neither Debtor 4 nor Debtor 2 has primarily

“incurred by an individual primarily for a person

1 No. Ge to line 7.

HI Yes. List below each creditor fo whom you paid a tatal of $6,825"
total amount you paid that creditor. Do not include payments
child support and alimony. Also, do not include payments to

Case number (¢ anowny

or more?

 

consumer debts. Consumer debts are defined in 14 U.S.C. § 104(8) as
al, family, or household purpuse,”

During the $0 days before you filed for bankruptcy, did you pay any creditor a total of $6,825*

or more In one or more payments and the
for domestic support obligations, such as
an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment,

OG Yes, Debtor 1 or Debtor 2 or both have primarily consumer debts,

During the 90 days before you filed for bankruptey, did you pay any creditor a total of $600 or more?

(1 No. Go fo line 7.

© ves. List below each creditor 19 whom you paid a total of $600 or more and the fotal amaunt you paid that

Official Forms: 107

creditor, Do not include payments for domestic Support obligations, such as child support and

alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Tetal amount paid Amount you still owe Was this payment for...
payment
NATIONSTAR MORTGAGE $ 1,015.00 5 194,431.00 GH yorsage
Craditor's Nam@¢ :
QO) car
820 FOLLIN LANE SE OO cones
Number “Sureet Credit card
J) Loan repayment
Cj Suppliers or vendors
VIENNA VA 22180 Oop
City Stale ZIP Coda er
CREDIT ACCEPTANCE $ 335.00 10,683.00 9 Mortgage
Creditor's Name
lf Car
PO BOX 5070 crest card
Number Street
QO Loan repayment
OO Suppliers or vendors
SOUTHFIELD MI 48086 ©) other
City State ZIP Code
5 $ C) mortgage
Crediter's Name g Car
credit card
Number  Streat
Oo Loan repayment
Q Suppliers or vendors
1 other
City State ZIP Code ~

Statement Of Financtal Affairs for individuais Fling tor Bankruptcy
Debtor 1 MICHAEL BROWN

Case number (# known
First Narne Middle Name Last Name ‘

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives: any general partners; relatives of any general partners; partnerships of which you are a general partner:
corporations of which you are an officer, director, person in control, or owner af 26% or more of their vating securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

7 No

Cl] Yes. List all payments to an insider,

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
3 5
Insider's Name
Number Street
City State ZIP Code
$ g
insider's Name

 

 

Number Street

 

 

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
Include paymenis on debts guaranteed or casigned by an insider.

4 no
C] Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment

payment paid owe Include creditor's name

 

 

 

 

 

$ $
Insider's Name
Number Street
City State ZIP Cade
3 &

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
Debtor 1 MICHAEL BROWN

Ca Pay
FustName Milde Hame Last Namo $6 Number (df Anowny)

BED cones Legal Actions, Repossessions, and Foreclosures

8. Within 1 year before you filed for bankruptey, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

Wf No

Q] Yes. Fill in the details.

 

 

 

 

 

 

 

 

Natura of the case Court or agency Status of the case
Case title Saunt Name Q] Pending
QO On appeal
Number Street Q Concluded
Case number
City Sate ZIP Code
Case tille Cour Name Q Pending
ma On eppeal
Number  Straat | Concluded
Case number
City State ZIP Code

10, Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or fevied?
Check all that apply and (ill in the details below.

M1 No. Goto line 11.
CI Yes. Filt in the information below,

Describe the proparty Date Value of the property

 

Creditor's Name

 

Number = Street Explain what happened

) Property was repossessed.
QO Property was foreclosed.

 

i) Property was garnished.

 

City State ZIP Code C] Property was attached, seized, or levied.

Describe the property Date Value of the property

 

Craditor's Name

 

Number Streat .
Explain what happened

Property was repossessed.
Property was foreclosed.

 

Property was garnished,
Property was attached, seized, or levied.

 

City Sala ZIP Coda

Oooo

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page
Bebtor1 MICHAEL BROWN

Case number (rsnown}
First Mame Noodle Narra Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

4 No

C} Yes. Fill in the details,

 

 

 

 

 

Describe the action the craditer took Date action Amount
was taker
Creditors Name
Number Street 8
City State ZIP Cade Last 4 digits of account number: XXXX—

12, Within 1 year before you filed for bankruptcy, was any of your proparty in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

| No
L} Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

wi No
CJ Yes. Fill in the details for each gift.

Gifts with a total yalue of more than $606 Describe the gifts Dates you gave Vakue
per person the gifts

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State 2!P Cade

Person's relationship to you

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
Per person the gifts

 

Parson to Whom You Gave the Gift

 

 

Number Streat

 

City State ZIP Code

Person's relationship to you

Official Form +07 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
Debtor? MICHAEL BROWN

Si Nane ings Name Tana Case number (i knawny,

14,Within 2 years before you filed for bankruptcy,

@ no

O) Yes. Fillin the details for each gift or contribution,

did you give any gifts or contributions with a total value of more than $600 to any charity?

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
Charity's Name $

 

 

 

 

Number Street

 

Ciy State ZIP Code

oe Certain Losses

15. Within 7 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

@ Ne

C) Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred : wo a loss lost
Include the amount that insurance has gaid. List pending insurance
claims on ling 33 of Schedule A/B: Property.
3

List Certain Payments or Transfers

: 46, Within 4 year before you filed for bankruptcy, did-you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any altornays, bankruptey patition preparers, or credit counseling agencies for services required in your bankruptcy.

No

C) Yes. Fill in the details.

 

 

 

 

 

Description and vatue of any property transferred Date paymentor Amount of payment
transfer was
Person Who Was Paid made
Number  Streat $
$
|
|

 

City State ZIP Code

 

i Emad or website addrass

 

Person Who Mada the Payment, if Not You

 

se erreme aie Rl pec

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7
 

Debtor 1 MICHAEL BROWN Case number i snow}

   
   
   

First Name Midcle Name Last Name

 

Description and vaiue of any property transferred Date payment or Amount of
transfer was made payment

 

Parsan Who Was Paid

 

Number Street

 

 

City Stale ZIP Coda

 

Ernail or website address

 

Parson Who Made the Payment, if Not You

17. Within 1 yaar before you filed for bankruptcy, did you or anyone eise acting on your behalf Pay or transfer any property to anyone who
Promised to help you deal with your creditors or to make Payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

@ No

C) Yes. Fill in the detaits.

 

 

 

Description and value of any property transferred . Date paymentor Amount of payment
transfer was
made
Person Who Was Paid
Number Street s
$

 

 

 

City State 2iP Cade

18. Within 2 years before you filed for bankruptcy, did you seil, trade, or otherwise transfer any property to anyone, other than property

transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as seourity (such as the granting of a security interest or mortgage on your Property).
Do not include gifts and transfers that you have already listed on this statement,

Y No
C) Yes. Fill in the detaits,

Description and value of property Bescribo any property or payments received Date transfer
transferred or debts paid In exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to yau

 

Person Who Received Transfer

 

Number Street

 

 

Gay State 2iP Code

Person's relationship to you
Official Form 407 Statement of Financial Affairs for Individuals Filing for Bankruptcy page §
Debtor1 MICHAEL BROWN

Case number tit tnown)
First Namo Middlo Namo Last Hame

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? {These are often called asset-protection devices.)

Wi No
(I Yes. Fill in the details,

Description and vafue of the property transferred Date transfer
was made

Name of trust

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

| 26. Within 71 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial Institutions.

@ No

C) Yes. Fill in the detaifs,

r

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sald, moved, closing or transfer
or transferred
i Namo of Financtal institution
XX Q Checking $
oO Savings

 

Nurnber Street
QO Monoy market

: i Brokerage

 

 

 

 

i City State ZIP Codo Q Other
XXXXK— Cl] Checking $
Name of Financial Institution a —_ +
i q Savings
Number Street O Money market

 

OQ Brokerage

 

CJ other.
: City State ZIP Gode

 

, 21. Do you naw have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

fH No
() Yes. Fillin the details.

 

 

 

 

 

 

 

i Who else had access to it? Describe the contents Do you still
have it?
OC) Ne
Name of Financial Institulton Name od) Yes
Number Street Number Stroot
i
! City Stata Zi? Code

 

CHy State ZIP Code

Official Form 107 Statomont of Financial Affairs fer Individuals Filing for Bankruptcy page 9
Debior 1 MICHAEL BROWN Case number ¢ranowny,

 

First Mame Mindie Name (ast Mame

: 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
wi No
CI Yes. Fill in the details.

 

 

 

 

 

Who else has or had access to it? Describe the contents Do you still
i have it?
: Ol No
Name of Storage Facillty Name Q Yes
} Number = Streat Number Strat
i
CltyState ZIP Gade
City State 2IP Code
Ue Identify Property You Hold or Control for Someone Else
: 23, Oo you hold or control any property that someone efse owns? Include any property you borrowed from, are storing for,
or hold in trust for someone,
| WNo
'
| OD Yes. Fill in the details,
3 Vaiue

Where is the property? Describe the property

 

Owner's Name

 

Number Streat

 

i Numbor Street

 

 

 

 

. City State ZIP Coda
; City State ZIP Code

Sr Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

= Environmentaf /aw means any federal, state, or local statute or regulation concerning poliution, contamination, refeases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,

including statutes or regulations controlling the cleanup of these substances, wastes, or material.

= Site means any location, facility, or praperty as defined under any environmental law, whether you now own, operate, or

utilize it or used to own, operate, or utilize it, Including disposal sites.

= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report ail notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

 

 

wi No
C) Yes. Fill in the details.
Governmental unit Environmental law, if you know it
Name of site Governmental unit
Number Street Number Siraat
City State ZIP Code

 

 

City State ZIP Codo

Official Form 107 Statement of Financial Affairs for Individuals Fiting for Bankruptcy

Date of notice

page 10
Debtor 4 MICHAEL BROWN

First Name Mddle Name Last Nare

Case number irénown

 

 

25, Have you notified any governmental unit of any release of hazardous material?

W No

£] Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
i
!
f
Namo of site Goveramental unit
| Number Street Number Street
|
i
i
i City State ZIP Code

 

! City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

© No

C) Yes. Fill in the details.

 

 

Court or agency Nature of the case Status of the
case
Casa title
Court Name Q Pending
O on appeal
Number Street C] conciuded
Case number Gity State ZIP Code

Ere Give Details About Your Business or Connections to Any Business

27, Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
0) A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
© A member of a limited liability company {LLC) or limited liability partnership (LLP)
C) A partner in a partnership
Ld An officer, director, or managing executive of a corporation

(Cd An owner of at least 5% of the voting or equity securities of a corporation

a No, Nane of the above applies. Go to Part 12,
CJ Yes. Check all that apply above and fill in the details below for each business.

Describe the nature of the business Employer identification number
Bo not include Social Security number or ITIN.

 

: Business Name
EIN: -

: Number Street
Name of accountant or bookkeeper Dates business existed

 

 

From To

 

City State ZIP Coda
Doscribo tha nature of the business Employer Idontificatlon number
Do not Include Social Security number or ITIN,

 

Business Nama

EIN: “Oo

 

Number Street
Name of accountant or bookkeeper Dates business existed

 

From To

 

City State ZIP Gods

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptey page 14
Debtor 1 MICHAEL BROWN

as ber
Furst Name Middle Name Last Name Case aumbe wanown)

 

Employar Idantification number

Describe the nature of the business
: Do not include Social Security number or TIN.

 

Business Name

 

Number Straet

Name of accountant or bookkeeper Dates business existed

 

From _ Ta

 

City State = ZIP Coda

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include ail financial
institutions, creditors, or other parties.

No
: (J Yes. Fill in the details below.

Date issued

 

Name MMI DD (vv

 

Number Strat

 

 

City State ZIP Code

i

: | have read the answers on this Statement of Financia/ Affairs and any attachments, and | dectare under penalty of perjury that the

i answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
: in connection with a bankruptey case can result in fines up to $250,000, or imprisonment for up to 20 years, or both,

18 U.S.C. §§ 152, 1341, 1519, and 3571.

KX Mechel fK— x

 

i

Signature of Debtor 4 Signature of Debtor 2

Date 11/25/2019 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuats Filing for Bankruptey (Official Form 107}?
@ no
O ves

Bid you pay or agrea to pay someone whe is not an attorney to help you fill out bankruptcy forms?

t L) No
if Yes. Name of person PATSY A. JORDAN . Attach the Bankruptcy Petition Preparer's Notice.
Declaration, and Signature (Official Form 119).

Offtciat Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12
B2800 Foren 2800) (12/15)

 

In eM ttre gL “Ramon Case No.
Chapter /

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Adust be filed with the petition if a bankrupicy petition preparer prepares the petition. 11 USC. § 1100) 2)]

BE Under 11 U.S.C. § 140G0, I declare under penalty of perjury that I am not an attorney or eriployce of an
attorney, that I prepared or caused to be prepored one or more documents for filing by the above-named
debtor(s) in connection with this bankruptcy case, and that compensation paid fo me within one year before
the filing of the bankruptey petition. or agreed to be paid ta me, fnr_services rendesed on behalf of the
debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

 

Te
For dacument preparation services I have apreed to AOCEP ba . n-eeeeeeen renee .~ § Zé Si Cc
Ot
Prior to the filing of this statement I have received. nsenssrssssemccccccee Zé St 2
Balance Dutiucececnsncces (Natonsersuesesdtienerseresrearatateeyressueaensatassceccecssecerpeessan oe a
4, T have prepared or caused to be prepared tae following documents titemize):
and provided the following services (itemize): CRaplex /
3. {the compensation paid to me was:
Debtor Other (specify)
4, ‘Phe source of compensation to be paid to me is:
Debtor Other (specify}
3 The foregoing is 9 complete statement of any agreement or arrangement for payment to me for preparation
of the petition filed by the debvor(s) in this bankruptcy case.
6. To my knowledge no other person has prepared for compensation a document for filing in connection with
this bankruptcy case except as listed below:
NAME SOCIAL SECURITY NUMBER.
ra he Qnrelon XX 0S2 _ //-26-)9
Signjiture i Social Security number of bankruptcy Date

petition preparer® 17 cp AD Lo /¥ ond) SA
Printed name and title, if any, of Address
Bankruptcy Petition Preparer ? } ae ; O IC. WS i 3 Y
* {ithe bankruptey petition preparer is not an individual, state the Social Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer. (Required by £1 U.S.C. § 110).

A bankrupicy petition preparer's failure to comply with the provisions of utle lf and the Federal Rules of
Bankruptcy Procedure may resutt in fines or imprisonment or both, 17 U.S.C. § 1410: 18 U.S.C. § 156.
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF TEXAS

AE — PVN GE Q-931968

In Re: Case No.

 

Chapter t

Or Cn ti toe «oe

MICHAEL BROWN

 

LIST OF CREDITORS VERIFICATION

The above named debtor(s) hereby verifies that the attached list of creditors is true and correct to the
best of their knowledge.

; 11/25/2019
flledeef fe

Debtor Date

 

 

Joint Debtor Date
t, Nation Star Mort gage
8750 CY ACF? Waters BL

Dallas, TX, 15065
Credit Frecegtan cé

a ar Box S07
8 South field , ME 49086

3, SY “Tea | Cas LK

{

P.0, BK ALS
T Ss
Lac DU ClamBev) WL (33
a, Navy Feds Credit Union
8 20 Zelfin Lane SE
Vien) Vr 22) ©
Recovel 4
‘) Catdio Pactnecs Soe cen
2] 2 oth Ave, ©

SMAMAID/T 15 04

g Mid West Pe covey System S
gfllf Cafth Cty PlA2a Suite (00
Earth city , Me 6204S”
